

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-80,787-01






EX PARTE SHERRY LYNN SMYTH, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 48540 IN THE 240TH DISTRICT COURT


FROM FORT BEND COUNTY






	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant pleaded guilty, was convicted of
possession of a controlled substance and, after a period of deferred adjudication, was sentenced to
one year imprisonment in a state jail.  She did not appeal her conviction.

	Applicant contends that her due process rights were violated because a forensic scientist did
not follow accepted standards when analyzing evidence in her case. This application was forwarded
to this Court prior to the Court's rehearing in Ex Parte Coty, WR-79,318-02 (Tex. Crim. App. Jan.
15, 2014)(published).  We remand this application so that the parties can apply the principles of that
opinion to the facts of Applicant's case.

	

	Applicant has alleged facts that, if true, might entitle her to relief.  Id.  In these circumstances,
additional facts are needed.  As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294 (Tex. Crim.
App. 1960), the trial court is the appropriate forum for findings of fact.  The trial court may use any
means set out in Tex. Code Crim. Proc. art. 11.07, § 3(d).

	The trial court may order depositions, interrogatories, or a hearing.  It appears that Applicant
is represented by counsel.  If the trial court elects to hold a hearing, it shall determine if Applicant
is represented by counsel, and if not, whether Applicant is indigent.  If Applicant is indigent and
wishes to be represented by counsel, the trial court shall appoint an attorney to represent Applicant
at the hearing.  Tex. Code Crim. Proc. art. 26.04.

	The trial court shall first make findings of fact and conclusions of law as to whether
Applicant is suffering collateral consequences from this discharged conviction.  If so, the trial court
shall then determine whether Applicant has established an inference of falsity as enumerated  in this
Court's opinion in Coty, and if so, to what extent it was material.  The trial court shall also make any
other findings of fact and conclusions of law that it deems relevant and appropriate to the disposition
of Applicant's claim for habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order. A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be forwarded to this Court within 120 days of the date of this order.  Any extensions of time shall
be obtained from this Court. 


Filed: February 26, 2014

Do not publish


